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        MAXLINEAR, INC. and MAXLINEAR
    9   COMMUNICATIONS LLC
   10                              UNITED STATES DISTRICT COURT
   11            CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
   12
        ENTROPIC COMMUNICATIONS,                        Case No. 2:23-cv-1043-JWH-KES
   13   LLC,                                            (Lead Case)
   14                 Plaintiff,                        REDACTED VERSION OF
                                                        DOCUMENT PROPOSED TO BE
   15          v.                                       FILED UNDER SEAL

   16   DISH NETWORK CORPORATION,                       COUNTER-DEFENDANTS
        et al.,                                         MAXLINEAR, INC. AND
   17                                                   MAXLINEAR COMMUNICATIONS
                      Defendants.                       LLC’S NOTICE OF MOTION AND
   18                                                   MOTION TO DISMISS
                                                        COUNTERCLAIMS BY DISH
   19                                                   NETWORK CALIFORNIA
                                                        SERVICE CORPORATION
   20
        DISH NETWORK CALIFORNIA                          JURY TRIAL DEMANDED
   21   SERVICE CORPORATION,
                                                        [Request for Judicial Notice
   22                 Counter-Claimant                  concurrently filed herewith]
   23          v.                                       Judge: Hon. John W. Holcomb
   24   ENTROPIC COMMUNICATIONS,                        Action Filed: Feb. 10, 2023
        LLC; MAXLINEAR, INC.; AND                       Counterclaims Filed: Sept. 21, 2023
   25   MAXLINEAR COMMUNICATIONS
        LLC,                                            Hearing:
   26            Counter-Defendants.                    Date:    Feb. 2, 2024
                                                        Time:    9:00 a.m.
   27                                                   Place:   Courtroom 9D, Santa Ana
   28                                                   Judge: Hon. John W. Holcomb
        MAXLINEAR’S MOTION TO DISMISS DISH’S COUNTERCLAIMS
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    1           TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
    2   PLEASE TAKE NOTICE that on February 2, 2024, at 9:00 a.m., or as soon
    3   thereafter as counsel may be heard in Courtroom 9D of the United States District
    4   Court for the Central District of California, located at 411 W. 4th Street, Santa Ana,
    5   California, Counter-Defendants MaxLinear, Inc. and MaxLinear Communications
    6   LLC (“MaxLinear”) move to dismiss all counterclaims brought against them by
    7   Dish Network California Service Corporation (“Dish”).
    8           MaxLinear bases this motion on this notice; the attached memorandum of
    9   points and authorities; all pleadings, files, and records in this action; the request for
   10   judicial notice filed concurrently herewith and the accompanying declaration of
   11   Rose Lee; any reply memorandum; and other argument and evidence that the
   12   parties may present at the hearing on this motion. Under Local Rule 7-3, counsel
   13   conferred in advance of this motion on November 15, 2023 and November 17,
   14   2023.
   15
   16   Date: December 22, 2023             By:     /s/ Bita Rahebi
                                                    Bita Rahebi
   17
                                                    Attorney for Counter-Defendants
   18                                               MAXLINEAR COMMUNICATIONS LLC
                                                    AND MAXLINEAR, INC.
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    1   I.        INTRODUCTION
    2             This lawsuit involves the Dish Defendants’ alleged infringement of patents
    3   originating from Entropic, Inc., a founding member of the Multimedia over Coax
    4   Alliance (“MoCA”). MaxLinear, Inc. acquired Entropic, Inc. in 2015 and assigned
    5   the patents-in-suit to plaintiff, Entropic Communications, LLC (“Entropic”), in
    6   2021. Entropic alleges that Dish infringes these patents by practicing the MoCA
    7   standards.
    8             In response to Entropic’s claims, one of the Dish entities, Dish Network
    9   California Service Corporation (“Dish”), asserted four counterclaims1 against
   10   MaxLinear, Inc. and MaxLinear Communications LLC (collectively,
   11   “MaxLinear”). All four counterclaims depend on the same brittle allegation, i.e.,
   12   that Dish is entitled to a patent license on reasonable and nondiscriminatory
   13   (“RAND”) terms under MoCA’s Intellectual Rights Policy (“IPR Policy”) because
   14   one of Dish’s affiliates, “EchoStar (now DISH Technologies L.L.C.),” was a
   15   MoCA member.
   16             As an initial matter, Dish failed to attach or incorporate the alleged
   17   agreements at issue. It provided only a URL link to a blog that has an outdated IPR
   18   policy, which, on its face, is incomplete because it refers to yet other documents
   19   and agreements. As such, Dish has failed to plead fully the contract’s terms.
   20             All of Dish’s claims can—and must—be dismissed because its core
   21   allegation is implausible and for a host of other reasons:
   22             The pled MoCA IPR Policy does not, in fact, require the licensing of
   23   affiliates, like Dish. It only places “limited obligations” on an “Alliance Party”
   24
        1
         This Motion refers to the paragraphs of Dish’s pleading (ECF No. 111) before
   25   ¶ 505 as the “Answer” and the paragraphs thereafter as the “Counterclaims.”
        Although Dish’s pleadings remain ambiguous as to which Counterclaims apply to
   26   MaxLinear, Dish has clarified that the Counterclaims asserted against MaxLinear
   27   are III (declaration that patent assignment is void), IV (breach of RAND
        commitment), V (fraud and negligent misrepresentation), and VI (civil conspiracy).
   28   (See Declaration of Rose S. Lee (“Lee Decl.”) Ex. 1 at 9-10.)
                                                  8
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    1   and its affiliates to offer a license to its essential patent claims to another Alliance
    2   Party. It does not obligate an Alliance Party to offer a RAND license to an affiliate
    3   of another Alliance Party. The Promoter Agreement which governed EchoStar’s
    4   membership in MoCA
                                            2
    5                                           Dish’s pleadings do not identify any provision of the
    6   IPR Policy or any other related agreement to the contrary.
    7             Dish lacks standing. Because Dish is not entitled to a license under the IPR
    8   Policy, nor a beneficiary of the IPR Policy, and cannot enforce its terms, Dish lacks
    9   standing to assert a breach of contract or seek a declaration that MaxLinear’s
   10   assignment of the patents to Entropic is void.
   11             A RAND License requires a “written request.” Even if Dish had been an
   12   Alliance Party, which it never was, the IPR Policy obligates an Alliance Party to
   13   offer a RAND license to another Alliance Party only upon the written request for a
   14   license. In its pleading, Dish fails to make such an averment.
   15             Dish does not identify the governing MoCA standard. Having withdrawn
   16   from MoCA, EchoStar is no longer an Alliance Party. Regarding former Alliance
   17   Parties, the IPR Policy only requires that an Alliance Party offer a RAND license to
   18   those standards approved while the former party was a MoCA Alliance Party. In its
   19   Counterclaims, Dish does not identify under which standard(s) it or EchoStar
   20   allegedly is entitled to a license, or plead that such standard(s) were approved while
   21   EchoStar was a MoCA Alliance Party.
   22             Dish’s counts for fraud, misrepresentation, and civil conspiracy do not
   23   state a claim. Dish comes nowhere near meeting the heightened pleading standard
   24   for fraud and misrepresentation. See Fed. R. Civ. P. 9(b). Among other
   25   deficiencies, Dish does not specify who allegedly misrepresented what, who
   26   received the misrepresentation, and how Dish relied on it. Dish’s civil conspiracy
   27
        2
         MaxLinear concurrently has filed a Request for Judicial Notice of the Promoter
   28   Agreement.
                                               9
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  1   count depends on Dish’s breach of contract, fraud, and misrepresentation counts, so
  2   it warrants dismissal for the same reasons.
  3             Given that amendment would be futile, MaxLinear asks that the Court
  4   dismiss Counts III–VI with prejudice and without leave to amend.
  5   II.       BACKGROUND
  6             A.     Entropic, Inc. and MaxLinear
  7             Entropic, Inc. was a founding member of MoCA. (Complaint (ECF No. 1),
  8   ¶¶ 23-27.) Regarded as a technological innovator, Entropic, Inc. created a novel
  9   networking architecture to accomplish “what was considered unlikely or
 10   impossible”: “mak[ing] a high-speed point-to-point digital communication network
 11   using existing coax installations.” (Id., ¶ 26.)
 12             MaxLinear, Inc. is a leading innovator of radiofrequency, analog, digital, and
 13   mixed-signal semiconductor solutions. In 2015, MaxLinear, Inc. acquired Entropic,
 14   Inc. and its MoCA-related intellectual property, including the asserted patents. (Id.,
 15   ¶ 21.) In 2021, MaxLinear, Inc. transferred these and other patents to Entropic, the
 16   plaintiff in this action. (Id., ¶ 22.)
 17             B.     MoCA and the IPR Policy
 18             MoCA is a standard-setting organization formed to “develop[] and promot[e]
 19   specifications for the transport of digital entertainment and information content
 20   over in-home coaxial environments, and to develop a certification process for
 21   products implementing the specifications to ensure interoperability between
 22   products and manufacturers.” (IPR Policy, § 1; 3 see also Counterclaims, ¶ 521.)
 23             MoCA adopted an IPR Policy that imposes upon participants (“Alliance
 24   Parties”) 4 and their affiliates a limited obligation to offer licenses to “Essential
 25
      3
        For the purposes of this Motion only, MaxLinear references Dish’s URL
 26   hyperlink to a blog that has a MoCA IPR Policy, dated 2011. (Counterclaims, ¶
      528, n. 12.)
 27
      4
        Under section 2 of the IPR Policy, an “Alliance Party” is a “Participant or a
 28   Voting Member.” “Participant” refers to a “non-voting class of participant as
                                               10
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  1   Patent Claims.” (IPR Policy, §§ 2, 5.1.1; Counterclaims, ¶ 531.) Essential Patent
  2   Claims are claims that (1) are necessarily infringed by complying with the technical
  3   specifications of an approved MoCA standard and (2) lack commercially
  4   reasonable non-infringing alternatives. (IPR Policy, § 2.)
  5          The IPR Policy does not require an Alliance Party to seek out and offer a
  6   patent license to anyone practicing a MoCA standard. Rather, an Alliance Party
  7   need only offer a license “upon the written request” of another Alliance Party. (IPR
  8   Policy, § 5.1.1.) An Alliance Party’s licensing obligation is limited to Essential
  9   Patent Claims and only to the extent “necessary to use, make, have made, offer for
 10   sale, sell and import” “Fully Compliant Products.” 5 (Id.) Importantly, an Alliance
 11   Party and its “Affiliates” owe this limited licensing obligation only to another
 12   Alliance Party, not to its affiliates. (Id., §§ 2, 5.1.1.)
 13          If an Alliance Party terminates its participation in MoCA, the former
 14   Alliance Party may submit a written request for a license only under a MoCA
 15   standard approved before it terminated its membership. (IPR Policy, § 7.2.) The
 16   former Alliance Party may not invoke the IPR Policy to request a license to
 17   standards approved after its MoCA membership ended. (Id.)
 18          C.     Dish
 19          Prior to initiating this action, Entropic allegedly offered Dish a license to the
 20   asserted patents on multiple occasions, but Dish refused. (Complaint, ¶ 16.) In
 21   February 2023, Entropic thus sued Dish for infringing the asserted patents by
 22   practicing the MoCA standards.
 23
 24   defined [] by Section 3.3 of the Alliance Bylaws.” “Voting Member” refers to a
      “voting class of member as defined by Section 3.2 of the Alliance Bylaws.” Dish
 25   does not provide the Alliance Bylaws in its Counterclaims. The Alliance Bylaws
 26   are available at https://mocalliance.org/Join/agreements/MoCA_Associate_Agreem
      ent_editedrs_210413.pdf.
 27   5
        A “Fully Complaint Product” refers to the specific portions of a product that
 28   implement a MoCA standard. (IPR Policy, § 2.)
                                                    11
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  1          Dish disputes that the “[a]sserted [p]atents . . . are necessary to products that
  2   implement any MoCA standard.” (Counterclaims, ¶ 509.) And if, in fact, any of its
  3   products “implement any part of any MoCA standard,” Dish disputes that their
  4   “implementation[ ]. . . practice[s] the Asserted Patents.” (Id.)
  5          Dish does not contend that it is or ever was a MoCA Alliance Party. It
  6   argues only that its affiliate, “EchoStar (now DISH Technologies L.L.C.),” was
  7   once a MoCA member. (Id., ¶ 522.) Dish also concedes that EchoStar is no longer
  8   an Alliance Party. (Id., ¶ 535.)
  9   III.   LEGAL STANDARD
 10          Under Rule 12(b)(1), a counter-defendant may challenge standing. As the
 11   party invoking the federal court’s jurisdiction, a counterclaimant like Dish bears the
 12   burden of alleging specific facts sufficient to prove its Article III standing. See
 13   Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992).
 14          Under Rule 12(b)(6) of the Federal Rules of Civil Procedure, “a complaint
 15   must contain sufficient factual matter, accepted as true, to ‘state a claim to relief
 16   that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting
 17   Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Dismissal for failure to
 18   state a claim is proper “where there is no cognizable legal theory or an absence of
 19   sufficient facts alleged to support a cognizable legal theory.” L.A. Lakers, Inc. v.
 20   Fed. Ins. Co., 869 F.3d 795, 800 (9th Cir. 2017).
 21          A “claim has facial plausibility when the plaintiff pleads factual content that
 22   allows the court to draw the reasonable inference that the defendant is liable for the
 23   misconduct alleged.” Ashcroft, 556 U.S. at 678 (citing Twombly, 550 U.S. at 556).
 24   Although it must accept as true all factual allegations in a complaint, a court need
 25   not do so for “allegations that are merely conclusory, unwarranted deductions of
 26   fact, or unreasonable inferences.” Sprewell v. Golden State Warriors, 266 F.3d
 27   979, 988, amended, 275 F.3d 1187 (9th Cir. 2001). “Threadbare recitals of the
 28   elements of a cause of action, supported by mere conclusory statements, do not
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  1   suffice” to avoid dismissal. Ashcroft, 556 U.S. at 678.
  2          In assessing a motion to dismiss, the court may consider documents that the
  3   complaint references or that are integral to its claims. See Consumer Sols. REO,
  4   LLC v. Hillery, 658 F. Supp. 2d 1002, 1009 n.4 (N.D. Cal. 2009) (allowing judicial
  5   notice of documents referenced in counter-complaint); Parrino v. FHP, Inc., 146
  6   F.3d 699, 706 (9th Cir. 1998) (“[A] district court ruling on a motion to dismiss may
  7   consider a document the authenticity of which is not contested, and upon which the
  8   plaintiff’s complaint necessarily relies.”), superseded by statute on other grounds
  9   as stated in Abrego v. Dow Chem. Co., 443 F.3d 676, 681 (9th Cir. 2006). “Even if
 10   . . . not attached to a complaint, [a document] may be incorporated by reference . . .
 11   if the plaintiff refers extensively to the document or [it] forms the basis of the
 12   plaintiff’s claim.” United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003).
 13          When considering referenced or incorporated documents, a court may
 14   consider the documents in their entirety and not merely the portions mentioned or
 15   quoted in the complaint. See In re Stac Elecs. Sec. Litig., 89 F.3d 1399, 1405 n.4
 16   (9th Cir. 1996). Dismissal is appropriate when a document that forms the basis of a
 17   claim negates that claim. See Valley Nat’l Bank v. Mundo Trucking, 2021 WL
 18   6882194, at *3 (C.D. Cal. Dec. 29, 2021) (“[W]hen a written instrument contradicts
 19   allegations in a complaint to which it is attached, the exhibit trumps the
 20   allegations.”) (citation omitted).
 21   IV.    ARGUMENT
 22          A.     Count IV: Dish Fails to Plead Facts Supporting Its Claim That
                    MaxLinear or Entropic Was Obligated to Offer a RAND License
 23
 24          MaxLinear addresses Dish’s breach of contract claim (Count IV) first, as this
 25   claim forms the basis of all four counterclaims against MaxLinear. Dish asserts
 26   that MaxLinear breached a contractual obligation by failing to offer it a RAND
 27   license under the IPR Policy. (See Counterclaims, ¶¶ 554–56.)
 28          “A cause of action for breach of contract requires proof of the following
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  1   elements: (1) existence of the contract; (2) plaintiff’s performance or excuse for
  2   nonperformance; (3) defendant’s breach; and (4) damages to plaintiff as a result of
  3   the breach.” CDF Firefighters v. Maldonado, 158 Cal. App. 4th 1226, 1239
  4   (2008). Dish has failed to provide this Court with the purported contract and to
  5   plead the elements for a breach claim, warranting Count IV’s dismissal.
  6                    1.     Dish’s Failure to Disclose the Alleged Contract and Its
                              Reliance on a Superseded Version Merit Dismissal
  7
  8          “[F]air notice of [a] breach of contract claim” requires “identify[ing] the
  9   specific terms of the specific agreements that Defendant allegedly breached.”
 10   Bella+Canvas, LLC v. TSC Apparel, LLC, 2020 WL 7048306, at *2 (C.D. Cal.
 11   Sept. 17, 2020). “If the action is based on an alleged breach of a written contract,
 12   the terms must be set out verbatim in the body of the complaint, or a copy of the
 13   written contract must be attached to the complaint or incorporated by reference.”
 14   Roman v. Vericrest Fin., Inc., 2013 WL 12142960, at *2 (C.D. Cal. Dec. 3, 2013).
 15          Here, Dish has not satisfied the pleading requirements for a breach of
 16   contract claim. Despite claiming rights as a purported “affiliate” of EchoStar, Dish
 17   did not disclose the alleged contract in its Counterclaims. Neither has Dish set
 18   forth the terms of the contract that MaxLinear allegedly breached in the body of the
 19   Counterclaims, nor incorporated it, nor attached it as an exhibit.
 20          Instead, Dish directs the Court to an alleged copy of the contract at issue in a
 21   third-party blog: https://www.essentialpatentblog.com/wp-content/uploads/sites/
 22   64/2013/05/MOCA-IPR-Policy-Approved-1_24_11.pdf. (See Counterclaims, ¶ 527
 23   n.12.) That hyperlink points to what appears to be a 2011 version of the IPR
 24   Policy. But the hyperlinked policy does not identify the parties to the policy,
 25   provide a signature block, or even indicate that it was executed.
 26          Moreover, the hyperlinked 2011 IPR Policy refers to yet other documents,
 27   which confirms it is incomplete. The “Definitions” section refers to “definitions
 28   ascribed to [terms] in the Alliance Bylaws or the Applicable Agreement.” (IPR
                                               14
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  1   Policy, § 2 (emphasis added).) Neither document is referenced in, or attached, to
  2   the pleading. For example, it indicates that “‘Affiliates’ shall have the meaning set
  3   forth in the Alliance’s Bylaws.” (Id.) Dish claims a license as an “affiliate” of
  4   EchoStar, but fails to include the definition of the term.
  5             The IPR Policy also states that “‘Applicable Agreement’ means the
  6   agreement that governs the relationship between an Alliance Party and the Alliance
  7   at the time an issue arises, including, without limitation, Promoter Member
  8   Agreement (as defined in Section 3.1 of the Alliance Bylaws), other Voting
  9   Member Agreement (as defined in Section 3.2 of the Alliance Bylaws) or
 10   Participant Agreement (as defined in Section 3.3 of the Alliance Bylaws). . . .” (Id.)
 11   Yet Dish neglected to attach the Alliance Bylaws or any Applicable Agreement(s)
 12   to its Counterclaims.
 13             Worse still, the hyperlinked IPR policy apparently was superseded in 2017.
 14   See Entropic v. Cox Commc’ns, Inc., No. 23-cv-1047, ECF No. 94-1 (C.D. Cal.
 15   Oct. 6, 2023) (in this Court’s parallel proceedings, another defendant cites a 2017
 16   IPR Policy while itself omitting the referenced documents) (Request for Judicial
 17   Notice, Exhibit A). 6 The 2017 document filed by Cox states, “This IPR Policy
 18   supersedes any and all prior documentation regarding the Intellectual Property of
 19   the Alliance.” (Id., ¶ 1.) Even assuming the IPR Policy was a stand-alone
 20   document (and it was not), Dish cannot state a claim for alleged breach of the IPR
 21   Policy due to conduct after 2017 because the 2017 policy supersedes the 2011
 22   version. See Rack Safety Prod., LLC v. Double Backstop, Inc., 2023 WL 3432250,
 23
 24
      6
       MaxLinear concurrently requests judicial notice as to the submission to the docket
      of a document described as the 2017 MoCA IPR Policy to the Court’s docket. See
 25   Fed. R. Evid. 201(b)(2). In the Ninth Circuit, “court filings and other matters of
      public record” are sources whose accuracy cannot reasonably be questioned for the
 26   purposes of Rule 201. Reyn’s Pasta Bella, LLC v. Visa USA, Inc., 442 F.3d 741,
      746 n.6 (9th Cir. 2006); see also Arroyo v. DTPS C-12, LLC, 2022 WL 17224717,
 27   at *1 (C.D. Cal. Jan. 31, 2022) (Holcomb, J.) (granting judicial notice of court cases
      and related public legal documents, as they “fall comfortably within the ambit of
 28   Rule 201”).
                                               15
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  1   at *5 (C.D. Cal. Mar. 9, 2023) (“[B]ecause the 2016 Agreement superseded the
  2   2015 Agreement, the Court concludes that Rack Safety cannot state a claim for
  3   breach of the 2015 Agreement based on Defendants’ conduct after 2016.”). For this
  4   reason alone, the Court must dismiss Dish’s counterclaim for breach of contract.
  5          Dish’s failure to attach a copy of the allegedly governing agreements, to
  6   identify the specific terms allegedly breached, or even to provide the full context to
  7   those terms requires dismissal of its Counterclaims against MaxLinear. See
  8   Bella+Canvas, LLC, 2021 WL 8134400 at *2 (dismissing breach claim where
  9   Plaintiff failed to attach a copy of the alleged contract, to quote from the contract,
 10   or adequately to plead the terms of the contract either in haec verba or according to
 11   legal effect).
 12                    2.   Dish Fails to Plead the Existence of a Contract that Gives It
                            Any Rights under the IPR Policy
 13
 14          Dish also has failed to plead facts giving rise to a reasonable inference that
 15   MaxLinear was obligated to offer it a license under the IPR Policy whatsoever.
 16   Dish does not claim to be a contracting party with MoCA or to have any other
 17   direct relationship with MoCA. Instead, it contends, “Dish California by virtue of
 18   its affiliation with EchoStar, a founding member of MoCA in 2004, Dish California
 19   is a beneficiary of the MoCA IPR Policy.” (Counterclaims, ¶ 553.)
 20          The MoCA IPR Policy does not confer any rights upon affiliates of MoCA
 21   members. Section 5.1.1 of the IPR Policy provides: “upon the written request of
 22   any other then-current Alliance Party, each Alliance Party shall offer to license to
 23   the requesting Alliance Party(ies) . . . such Alliance Party’s and its Affiliates’
 24   Essential Patent Claims.” (IPR Policy, §5.1.1 (emphasis added).) In short,
 25   although an Alliance Party and its affiliates must offer to license their Essential
 26   Patent Claims in response to a written request of an Alliance Party, the IPR Policy
 27   does not obligate an Alliance Party to provide a license offer to an affiliate of an
 28   Alliance Party.
                                                    16
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  1             Underscoring that affiliates lack the right to request a license is the fact that,
  2   as a textual matter, the IPR Policy distinguishes Alliance Parties from Affiliates and
  3   treats them differently throughout the document. (See generally id.) Dish cannot
  4   try to smear the ink and conflate the two. Additionally, Section 5.3 of the IPR
  5   Policy explains that “no license, immunity or other right is granted under this IPR
  6   Policy by any Alliance Party or its Affiliates to any other Alliance Parties or their
  7   Affiliates or to the Alliance, either directly or by implication, estoppel or otherwise,
  8   other than the agreement to grant licenses expressly set forth herein.” (Id., § 5.3
  9   (emphasis added).)
 10                                                                 , which is central to Dish’s
 11   purported rights. Dish’s breach of contract claim that it is entitled to a RAND
 12   license offer is wholly derivative of EchoStar’s rights as a MoCA member.
 13   EchoStar’s rights as a MoCA member, in turn, are governed by its membership
 14   agreement with MoCA – the Promoter Agreement.
 15             Curiously, Dish failed to provide the Court with the Promoter Agreement.
 16   MaxLinear, however, obtained the Promoter Agreement from Dish and seeks
 17   judicial notice of it. (Request for Judicial Notice, Exhibit B (“Promoter
 18   Agreement”).) 7 The Promoter Agreement                                                   ,
 19   rendering it implausible. It states:
 20
 21
      7
        The Court should take judicial notice of the Promoter Agreement signed by
 22   EchoStar Technologies Corporation, which was produced by Dish in this action. In
      the Ninth Circuit, Courts may incorporate by reference documents where (1) the
 23   complaint “necessarily relies” on the documents or contents thereof, (2) the
 24   document’s authenticity is uncontested, and (3) the document’s relevance is
      uncontested. Coto Settlement v. Eisenberg, 593 F.3d 1031, 1038 (9th Cir. 2010)
 25   (taking notice of an agreement that the facts suggested was “integral” to the
      complaint); see also Knievel v. ESPN, 393 F.3d 1068, 1076 (9th Cir. 2005) (“We
 26   have extended the ‘incorporation by reference’ doctrine to situations in which the
      plaintiff's claim depends on the contents of a document, the defendant attaches the
 27   document to its motion to dismiss, and the parties do not dispute the authenticity of
      the document, even though the plaintiff does not explicitly allege the contents of
 28   that document in the complaint.”).
                                               17
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  1
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 10
                                                                   Dish does not plead that
 11
      it ever executed any applicable membership agreements. Thus, MaxLinear’s
 12
      alleged failure to offer Dish a RAND license pursuant to the IPR Policy could not
 13
      breach that policy because MaxLinear was never obligated to make such an offer.
 14
             Similarly, Dish has no standing to sue MaxLinear for a breach of contract.
 15
      Wells Fargo Bank, N.A. v. Am. Nat’l Ins. Co., 2009 U.S. Dist. LEXIS 134120, *14
 16
      (C.D. Cal. Aug. 12, 2009) (“[g]enerally, a non-party to a contract has no right, duty,
 17
      or obligation under [it].”) Although Dish claims to be a “beneficiary of the MoCA
 18
      IPR Policy” “by virtue of its affiliation with EchoStar, a founding member of
 19
      MoCA in 2004” (Counterclaims, ¶ 553), as a matter of law, “the terms of the
 20
      contract must demonstrate the express intent to confer [that] benefit” on Dish for it
 21
      to claim the mantle of a third-party beneficiary. Sherman v. Pepperidge Farm, Inc.,
 22
      2023 WL 5207458, at *4 (C.D. Cal. Apr. 28, 2023) (Holcomb, J.) (citation
 23
      omitted).
 24
                                                                                     Dish’s
 25
      “beneficiary” allegation cannot save its license entitlement argument in view of the
 26
      Promoter Agreement and IPR Policy’s express language to the contrary. See Valley
 27
      Nat’l Bank, 2021 WL 6882194, at *3.
 28
                                                    18
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  1             Accordingly, Dish is not entitled to bring the instant breach of contract claim
  2   against MaxLinear or to claim any benefits of the IPR Policy.
  3                       3.     Dish’s Failure to Plead Performance Requires Dismissal
  4             Even if it had been a MoCA Alliance Party, Dish would be entitled to receive
  5   a license under the IPR Policy only if it had requested one. But it does not plead
  6   that it did so. (Counterclaims, ¶ 555 (recognizing that a RAND license offer occurs
  7   only “upon receipt of such a request”); see also id., ¶¶ 528, 531, 535.) That reality
  8   harmonizes with the plain text of Section 5.1 of the IPR Policy, which requires a
  9   license offer only “upon the written request of any other then-current Alliance
 10   Party.” (IPR Policy, §5.1; see also § 7.1.) 8
 11             “It is elementary a plaintiff suing for breach of contract must prove it has
 12   performed all conditions on its part or that it was excused from performance.”
 13   Consol. World Invs., Inc. v. Lido Preferred Ltd., 9 Cal. App. 4th 373, 380 (1992).
 14   Here, Dish does not plead that it ever requested a RAND license, much less made
 15   such a request in writing. That failure to plead performance, an essential element of
 16   its breach of contract claim, requires dismissal of Count IV. See Herrera v. Wells
 17   Fargo Bank, N.A., 2020 WL 5802421, at *7 (C.D. Cal. Sept. 1, 2020) (granting-in-
 18   part motion to dismiss breach of contract claims based on plaintiff’s failure to
 19   request refund as contractually required); Bugarin v. All Nippon Airways Co., 513
 20   F. Supp. 3d 1172, 1192-93 (N.D. Cal. 2021) (same); see also Vigdor v. Super Lucky
 21   Casino, Inc., 2017 WL 2720218, at *3 (N.D. Cal. June 23, 2017) (granting-in-part
 22
      8
        Although MaxLinear first raised this deficiency on November 15, Dish refused to
 23   amend its pleading and stated that it would consider amendment after reviewing
 24   MaxLinear’s motion. On the eve of this filing, after MaxLinear declined an
      invitation to delay filing this motion, Dish claimed for the first time that a Dish
 25   entity (unclear which) had submitted a “written request for Entropic’s RAND
      licensing rates.” Of course, this was not pled. To the contrary, in its pleading, Dish
 26   claimed lack of knowledge, and on that basis denied Entropic’s allegations that
      Dish’s products and services conform to certain MoCA standards.
 27   (Compare Complaint, ¶¶ 39-43 with Answer, ¶¶ 39-43.) The IPR Policy requires a
      former Alliance Party to make a written request to license the patents because it has
 28   “Fully Compliant Products.”
                                                 19
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  1   motion to dismiss breach claim for failure to plead contractual triggering event).
  2          As explained above, each pleading failure independently requires the
  3   dismissal of Dish’s breach of contract claim.
  4          B.     Count III: Dish Cannot Request a Declaration Voiding the Patent
                    Assignments Due to Its Pleading Failures and Lack of Standing
  5
  6          Dish’s request for a declaration voiding MaxLinear’s patent assignments to
  7   Entropic similarly fails. Declaratory relief requires an actual controversary between
  8   the parties “relat[ing] to a claim upon which relief can be granted.” Leadsinger,
  9   Inc. v. BMG Music Publ’g, 429 F. Supp.2d 1190, 1193 (C.D. Cal. 2005). “[A]
 10   federal court may decline to address a claim for declaratory relief where the
 11   substantive claims would resolve the issues raised by the declaratory action.” See
 12   Cove Partners, LLC v. XL Specialty Ins. Co., 2016 WL 461918, at *12 (C.D. Cal.,
 13   Feb. 2, 2016) (citation omitted).
 14          First, Dish’s declaratory judgment counterclaim against MaxLinear
 15   (Count III) fails because it is derivative of Dish’s breach of contract claim
 16   (Count IV). Dish’s pleading deficiencies as to Count IV therefore infect and
 17   require the dismissal of Count III. See Area 55, Inc. v. Amazon.com, Inc., 2011 WL
 18   13101727, at *3 (S.D. Cal. July 25, 2011) (dismissing declaratory judgment
 19   counterclaim where “no valid breach of contract claim ha[d] been stated”);
 20   EurAuPair Int'l, Inc. v. Ironshore Specialty Ins. Co., 787 F. App'x 469, 471 (9th
 21   Cir. 2019) (affirming dismissal of declaratory judgment claim where dismissal of
 22   breach of contract claims meant there was no actual controversy); Blue Novis, Inc.
 23   v. U.S. All. Grp., Inc., 2021 WL 346422, at *6 (C.D. Cal. Jan. 27, 2021) (dismissing
 24   declaratory judgment claim where Plaintiff was not an intended third-party
 25   beneficiary to an agreement); see also Cove, 2016 WL 461918, at *12 (dismissing
 26   declaratory relief action where “breach of contract, fraud, and fraudulent
 27   inducement claims resolve[d] any existing controversy”).
 28          Second, the Court should dismiss Dish’s declaratory relief counterclaim for a
                                              20
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  1   separate, independent reason: lack of standing. To invoke the Court’s jurisdiction
  2   against MaxLinear, Dish bears the burden of alleging specific facts sufficient for
  3   Article III standing. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992).
  4   The trouble is, though, that Dish was never a MoCA member, and it is not entitled
  5   to a RAND license offer under the IPR Policy for the reasons already noted.
  6   “Generally, third parties do not have enforceable contract rights unless they are
  7   intended third party beneficiaries.” Dicion v. Mann Mortg., LLC, 718 Fed. App’x
  8   476, 478 (9th Cir. 2017) (citation omitted); see also Wells Fargo Bank., 2009 U.S.
  9   Dist. LEXIS 134120, at *14 (non-party generally has no right under a contract).
 10   Put simply, Dish enjoys no vigilante right to enforce the contracts of other private
 11   parties.
 12          Moreover, Dish’s allegation that “[e]very party using technology contained
 13   within the MoCA standards is an intended beneficiary . . . of voluntary contractual
 14   commitments to MoCA” (Counterclaims, ¶ 550) cannot be reconciled with
 15                      of the Promoter Agreement.
 16                                                                          See IV.A.2,
 17   infra. Accordingly, the Court should dismiss Count III based on Dish’s lack of
 18   standing. Cf. Warren v. Fox Fam. Worldwide, Inc., 328 F.3d 1136, 1142-43 (9th
 19   Cir. 2003) (dismissal appropriate where pleadings facially do not demonstrate a
 20   basis for standing in copyright case).
 21          C.     Count V: Dish Fails to Plead a Claim for Fraud and Negligent
                    Misrepresentation
 22
 23          The Court also should dismiss Dish’s fraud and negligent misrepresentation
 24   counterclaims for failure to satisfy Rule 9(b) and for their facial implausibility.
 25          In Count V, Dish asserts “[o]n information and belief” that MaxLinear
 26   “represented to the members of MoCA and their affiliates – including Dish
 27   California – that [it] would license the Asserted Patents under RAND terms and
 28   conditions and ensure that future owners of the Asserted Patents would be obligated
                                              21
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  1   to offer licenses under RAND terms and conditions.” (Counterclaims, ¶ 561.) On
  2   its face, that conclusory statement is inadequate to plead fraud or negligent
  3   misrepresentation. Gabor v. County of Santa Clara Bd. of Supervisors, 2008 WL
  4   902407, at *4 (N.D. Cal. Mar. 31, 2008) (“Allegations that are vague or conclusory
  5   are insufficient to satisfy the ‘particularity’ required by Rule 9(b).”).
  6           Under Rule 9(b), a counterclaimant must specify the circumstances
  7   constituting the alleged fraud with particularity. Negligent misrepresentation
  8   claims are subject to this heightened pleading requirement. See Hurd v. Boston Sci.
  9   Corp., 2023 WL 3564741, at *3 (C.D. Cal. Apr. 10, 2023) (“In the Ninth Circuit,
 10   claims for fraud and negligent misrepresentation must meet Rule 9(b)’s
 11   particularity requirements.”) (Holcomb, J.) (citation omitted).
 12           Rule 9(b) necessitates Dish to identify specifically what was fraudulent or
 13   negligently misrepresented. Satisfying that requirement meant, at the minimum,
 14   identifying (1) what specifically was misrepresented, (2) who made the
 15   representation, (3) why the representation is false, and (4) when the representation
 16   occurred. See Schreiber Distribut. Co. v. Serv-Well Furniture Co., Inc., 806 F.2d
 17   1393, 1401 (9th Cir. 1986) (“[T]he pleader must state the time, place, and specific
 18   content of the false representations as well as the identities of the parties to the
 19   misrepresentation”); Hurd, 2023 WL 3564741, at *3 (“[A] complaint generally
 20   must also identify the person who made the false representations on behalf of the
 21   entity.”) (citation omitted). Dish’s cursory fraud and negligent misrepresentation
 22   allegations provide none of that information. For example, they do not specify the
 23   allegedly fraudulent statements, who made them and when, or to whom they were
 24   made.
 25           Nor does Dish allege that MaxLinear (and not Entropic) made a
 26   representation that was false “when it was made.” See Smith v. Allstate Ins. Co.,
 27   160 F. Supp. 2d 1150, 1152 (S.D. Cal. 2001) (“[T]he plaintiff must plead facts
 28   explaining why [a] statement was false when it was made.”). Dish alleges only that
                                             22
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  1   Entropic failed to “offer Dish California a license to the Asserted Patents under
  2   RAND terms.” (Counterclaims, ¶ 562.) But this alleged failure does not involve a
  3   “false” statement, as the IPR Policy did not obligate Entropic to license any
  4   Essential Patent Claims to Dish, a non-MoCA member. Nor does this alleged
  5   failure involve MaxLinear. In addition, acts or omissions that Entropic performed
  6   in the present cannot show that a past MaxLinear statement was false. See Dotson
  7   v. Europharma, Inc., 2021 WL 4826611, at *6 (C.D. Cal. May 27, 2021) (A
  8   plaintiff cannot “simply point[] to a defendant’s statement, not[e] that the statement
  9   conflicts with the current state of affairs, and then conclud[e] that the statement in
 10   question was false when made.”) (citation omitted).
 11          Furthermore, “[a]s with all other elements of a claim based on fraud, a
 12   complaint must plead reliance and causation with particularity.” Renowitzky v.
 13   Wells Fargo Bank N.A., 2016 WL 3276976, at *8 (N.D. Cal. June 15, 2016); see
 14   Ashcroft, 556 U.S. at 678 (“A claim has facial plausibility when the plaintiff pleads
 15   factual content that allows the court to draw the reasonable inference that the
 16   defendant is liable for the misconduct alleged.”). Again, Dish has not supplied any
 17   facts necessary to support an inference that it reasonably relied on any alleged
 18   MaxLinear misrepresentation.
 19          Dish merely states that “its affiliation with a MoCA member and
 20   incorporation of certain MoCA technology in its products” show its reliance.
 21   (Counterclaims, ¶ 563.) But conclusory allegations of that sort are facially
 22   insufficient. A claim of fraud “requires a plaintiff to allege specific facts not only
 23   showing [it] actually and justifiably relied on the defendant’s misrepresentations,
 24   but also how the actions [it] took in reliance on the defendant’s misrepresentations
 25   caused the alleged damages.” Tabletop Media, LLC v. Citizen Sys. of Am. Corp.,
 26   2017 WL 10591885, at *5 (C.D. Cal. Mar. 3, 2017) (citation omitted). Here, Dish
 27   does not say that it designed its products after the alleged misrepresentations or
 28   that, but for the alleged misrepresentations, it would have used a different design.
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  1          Importantly, Dish’s Answer undercuts any claim of reliance. Dish denies
  2   Entropic’s allegations that Dish’s products and services conform to certain MoCA
  3   standards based on its “lack[] [of] knowledge or information sufficient to form a
  4   belief.” (Compare Complaint, ¶¶ 39-43 with Answer, ¶¶ 39-43.) That denial is
  5   fatal. Dish cannot credibly assert, on one hand, that it relied on MaxLinear’s
  6   supposed misrepresentations in conforming its products to the MoCA standards,
  7   and, on the other hand, that it does not even know whether its products comply with
  8   those standards.
  9          The Court should dismiss the fraud and negligent misrepresentations
 10   counterclaim for the simple reason that Dish failed to state a plausible claim. See
 11   Fed. R. Civ. P. 9(b); Ashcroft, 556 U.S. at 678-679 (“[O]nly a complaint that states
 12   a plausible claim for relief survives a motion to dismiss.”).
 13          D.     Dish Fails to Plead the Elements for Civil Conspiracy or the
                    Underlying Torts
 14
 15          In Count VI, Dish alleges a civil conspiracy claim against MaxLinear and
 16   Entropic. (Counterclaims, ¶¶ 568-71.) This Counterclaim, too, hinges on its claims
 17   for breach of contract (Count IV) and fraud and negligent misrepresentation
 18   (Count V). In particular, Dish alleges that MaxLinear and Entropic engaged in a
 19   civil conspiracy to induce Entropic to breach the IPR Policy and to engage in fraud
 20   or negligent misrepresentation.
 21          As noted above, the Court should dismiss Counts IV and V for failure to state
 22   a claim. See supra §§ IV.A and IV.C. That failure, in turn, warrants the dismissal
 23   of Count VI. See Mintel Learning Tech., Inc. v. Beijing Kaidi Educ., 2007 WL
 24   2288329, at *4 (N.D. Cal. Aug. 9, 2007) (“If the plaintiff fails to adequately plead
 25   the underlying claim, the corresponding conspiracy claim must also fail.”).
 26          The Court also should dismiss Count VI for the independent reason that Dish
 27   has not adequately pleaded the elements for a civil conspiracy. Those elements
 28   include “(1) the formation and operation of a conspiracy, (2) wrongful conduct in
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  1   furtherance of the conspiracy, and (3) damages arising from the wrongful conduct.”
  2   Id.
  3          “[A] civil conspiracy claim requires ‘that each member of the conspiracy
  4   acted in concert and came to a mutual understanding to accomplish a common and
  5   unlawful plan.’” Lynwood Invs. Cy Ltd. v. Konovalov, 2021 WL 1164838, at *17
  6   (N.D. Cal. 2021) (citation omitted). “A civil conspiracy, however atrocious, [also]
  7   does not give rise to a cause of action unless a civil wrong has been committed
  8   resulting in damage.” Allied Equipment Corp. v. Litton Saudi Arabia Ltd., 7
  9   Cal.4th 503, 511 (1994) (citation omitted). In other words, the wrongful conduct
 10   must cause damages. See id.
 11          Here, Dish does not allege that the alleged co-conspirators had an agreement
 12   or understanding to engage in a common plan. Nor does it identify a single
 13   wrongful act that the alleged co-conspirators took to further the conspiracy. Dish
 14   did not identify a specific instance of wrongful conduct causing damages.
 15          Instead, Dish generically alleges, “on information and belief,” that the
 16   alleged conspirators had knowledge of a planned tort and “concurred in the tortious
 17   scheme. . . .” (Counterclaims, ¶ 570.) Dish also generically alleges that MaxLinear
 18   and Entropic engaged in unspecified “acts designed to induce a breach or disruption
 19   of the contractual relationship.” (Id., ¶ 571.) Such “allegations of conspiracy do
 20   not sufficiently provide the details of the conspiracy” because they are “all made on
 21   ‘information and belief’ without providing any factual basis for those beliefs or are
 22   merely conclusory.” MGA Ent., Inc. v. Dynacraft BSC, Inc., 2018 WL 2448123, at
 23   *7 (C.D. Cal. 2018). In view of those pleading deficiencies, MaxLinear
 24   respectfully asks the Court to dismiss Count VI.
 25   V.     THE COURT SHOULD NOT GRANT LEAVE TO AMEND
 26          “Although . . . leave to amend should be ‘freely’ given [under Rule 15], that
 27   liberality does not apply when amendment would be futile.” Ebner v. Fresh, Inc.,
 28   838 F.3d 958, 968 (9th Cir. 2016); see also Plaza Bank v. Green, 599 Fed. App’x
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  1   801, 802 (9th Cir. 2015) (affirming dismissal without leave to amend where
  2   “[t]here was no legal basis for the counterclaims and thus any factual amendment
  3   would have been futile”). A court may deny leave to amend if it determines that
  4   “allegation of other facts consistent with the challenged pleading could not possibly
  5   cure the deficiency.” Albrecht v. Lund, 845 F.2d 193, 195, amended, 856 F.2d 111
  6   (9th Cir. 1988) (citations omitted). The Court should deny leave to amend for three
  7   reasons.
  8          First, amendment would be futile. All of Dish’s Counterclaims against
  9   MaxLinear depend on Dish’s alleged entitlement to a RAND license offer as an
 10   affiliate of EchoStar, formerly an Alliance Party. (Counterclaims, ¶ 535
 11   (“Although affiliates for Dish California withdrew from MoCA, Dish California
 12   retains its benefits under the MoCA IPR Policy including the right to a RAND
 13   license under § 5.1.1 as an affiliate.”).) Without that keystone allegation, the entire
 14   pleading crumbles.
 15          As noted, Dish has no such right. (IPR Policy § 5.1.1 (“[U]pon the written
 16   request of any other then-current Alliance Party, each Alliance Party shall offer to
 17   license to the requesting Alliance Party(ies)”) (emphasis added); RJN Ex. B.) Dish
 18   can say nothing and add nothing to its Counterclaims to change that fact. Any
 19   amendment would only prove futile, as well as an unnecessary waste of this Court’s
 20   time and resources. “Futility alone can justify a court’s refusal to grant leave to
 21   amend.” Novak v. United States, 795 F.3d 1012, 1020 (9th Cir. 2015); see also
 22   Lockheed Martin Corp. v. Network Sols., Inc., 194 F.3d 980, 986 (9th Cir. 1999)
 23   (“Where the legal basis for a cause of action is tenuous, futility supports the refusal
 24   to grant leave to amend”).
 25          Second, the Court should deny leave to amend because Dish’s Counterclaims
 26   raise issues redundant to those already before the Court through the Complaint and
 27   Dish’s affirmative defenses. (See, e.g., Answer, ¶¶ 482-496, 499 (asserting
 28   affirmative defenses of license, waiver, equitable estoppel, damages limitation
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  1   based on RAND obligation, and unenforceability).) As this Court has explained,
  2   “several district courts within the Ninth Circuit have found that counterclaims for
  3   declaratory relief are improper if ‘repetitious of issues already before the court via
  4   the complaint o[r] affirmative defenses.’” Fishbaugh v. Arteom, 2021 WL
  5   3598579, at *7-8 (C.D. Cal. July 8, 2021) (citation omitted). Where a “claim is
  6   redundant to issues already before the Court, amendment would be futile, and the
  7   claim [should be] dismissed without leave to amend.” Id. The Court should do so
  8   again here.
  9          Third, Dish’s dilatory litigation conduct provides yet another reason for
 10   denying leave to amend. In mid-November, MaxLinear engaged in a series of
 11   discussions with Dish to explain these deficiencies in the hopes of avoiding motion
 12   practice. Although believing amendment to be futile, MaxLinear nevertheless
 13   asked Dish if it wished to amend. (Lee Decl., ¶ 4.) Dish refused, stating that it
 14   would evaluate whether to amend after MaxLinear filed its motion to
 15   dismiss. (Id.) On December 15, 2023, MaxLinear urged Dish to voluntarily
 16   dismiss this action in light of the newly produced Promoter Agreement. (Id., ¶ 6.)
 17   Again, Dish refused to do so. Instead, it merely offered MaxLinear an extension, in
 18   the event the other Dish defendants file counterclaims in this Court. (Id.)
 19   MaxLinear declined to invite more delay, as it had fully drafted this instant motion.
 20   (Id., ¶ 7.) After, on the eve of filing of this motion, Dish sent MaxLinear a letter
 21   insinuating that Dish could plead allegations to make its claims suddenly plausible.
 22   (Id.) It is all too little, too late. Dish chose not to amend, and its pleadings’ fatal
 23   deficiencies cannot be cured.
 24   VI.    CONCLUSION
 25          Dish has failed to prove that a contract exists, that it has any rights under
 26   such a contract, or that an Alliance Party ever requested a license under the MoCA
 27   IPR Policy. In tandem, Dish failed to satisfy the heightened pleading requirements
 28   for fraud and negligent misrepresentation. Its declaratory judgment and civil
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  1   conspiracy counterclaims depend entirely on its other counterclaims and are
  2   deficient for the same reasons. MaxLinear therefore urges the Court to dismiss
  3   Dish’s Counterclaims against MaxLinear (Counts III-VI) with prejudice.
  4   Dated:        December 22, 2023                    MORRISON & FOERSTER LLP
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  1                            CERTIFICATE OF COMPLIANCE
  2          The undersigned, counsel of record for Counter-Defendants MAXLINEAR,
  3   INC. and MAXLINEAR COMMUNICATIONS LLC, certifies that this brief
  4   contains 6722 words, which complies with the word limit of L.R. 11-6.1.
  5
      Dated:        December 22, 2023                    By: /s/ Bita Rahebi
  6                                                         Bita Rahebi
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